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                             PARKER HANSKI LLC
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                                 NEW YORK, NEW YORK 10013
                                    PHONE: 212.248.7400
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                                 Contact@ParkerHanski.com

                                                            January 11, 2021
Via ECF
The Honorable John G. Koeltl
United States District Judge
Southern District of New York

       Re:     Milagros Gonzalez, Steven Nachshen and Colleen Roche v. Tompkins Square
               Partners, LLC and Davenport, Turnblad & Fishpaw LLC

               Docket No. 1:18-cv-09915 (JGK)(KNF)

Dear Judge Koeltl

        We represent the plaintiffs in the above-entitled action. On behalf of all the parties, we
write to respectfully ask the Court to cancel the January 12, 2021 conference because the parties
have filed a fully executed Stipulation of Voluntary Dismissal pursuant to Rule 41(a)(1)(A)(ii) of
the Federal Rules of Civil Procedure. (See ECF Document #65).

       Thank you for your time and attention to this matter. With kindest regards, I am

                                                    very truly yours,

                                                         /s/
                                                    Glen H. Parker, Esq.




             The Conference is canceled and the Clerk is directed to
             close this case.
             SO ORDERED
                                  /s/ John G. Koeltl
             January 11, 2021         John G. Koeltl
             New York, NY                U.S.D.J.
